                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Criminal Case No. 24-cr-00113-NYW

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. JON M. HALLFORD,

       Defendant.


     GOVERNMENT'S MOTION PURSUANT TO U.S.S.G. § 3E1.1(b) TO AWARD
      DEFENDANT JON HALLFORD A DECREASE IN OFFENSE LEVEL BY
       ONE ADDITIONAL LEVEL FOR ACCEPTANCE OF RESPONSIBILITY



       The United States of America respectfully moves this Court to enter an Order

awarding defendant Jon Hallford a decrease in offense level by one additional level for

acceptance of responsibility. The Government files this Motion pursuant to U.S.S.G.

§3E1.1(b).

       As grounds, the Government states that the Defendant has assisted authorities

in the investigation and prosecution of his own misconduct by timely notifying authorities

of his intention to enter a plea of guilty, thereby permitting the Government to avoid

preparing for trial and permitting the Government to allocate its resources efficiently.

       WHEREFORE, the Government moves the Court to grant this Motion and award

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the Defendant a decrease in offense level by one additional level based on his

acceptance of responsibility.

      Respectfully submitted this 24th day of February, 2025.



                                               J. Bishop Grewell
                                               Acting United States Attorney

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                               CERTIFICATE OF SERVICE

       I certify that on this 24th day of February, 2025, I electronically filed the foregoing
GOVERNMENT'S MOTION PURSUANT TO U.S.S.G. § 3E1.1(b) TO AWARD
DEFENDANT JON HALLFORD A DECREASE IN OFFENSE LEVEL BY ONE
ADDITIONAL LEVEL FOR ACCEPTANCE OF RESPONSIBILITY with the Clerk of the
Court using the CM/ECF system which will send notification of such filing to counsel of
record in this case.

                                    By: s/Ilmira Allazova
                                       Legal Administrative Specialist
                                       United States Attorney’s Office




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